                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 SOUTHERN DIVISION

                                       No. 7:20-CR-00167-M-1

     UNITED STATES OF AMERICA
                                                      CONSENT MOTION FOR EXTENSION
               v.                                        OF TIME TO FILE PRETRIAL
                                                         MOTIONS AND CONTINUE
     LIAM MONTGOMERY COLLINS                                  ARRAIGNMENT




       The Defendant, Liam Montgomery Collins, through counsel, and with consent by the

government, hereby asks this Honorable Court to extend the deadline to file pretrial motions 30

days, to and including February 24, 2023, and that subsequent deadlines in the Court’s November

28, 2022 text order be adjusted accordingly. In support of this motion, the Defendant shows the

following:

       1.       Mr. Collins was initially indicted on October 15, 2020 and charged with

conspiracy to manufacture firearms and ship interstate, interstate transportation of firearms

without a license and aiding and abetting, and interstate transportation of a firearm not registered

as required and aiding and abetting.

       2.       Mr. Collins was charged by superseding indictment on November 18, 2020, and

by second superseding indictment on June 16, 2021.

       3.       On August 18, 2021 a third superseding indictment was returned in this matter

adding an additional charge against Mr. Collins for conspiracy to damage an energy facility.

       4.       Pursuant to the Court’s text order, all pretrial motions shall be filed by January 25,

2023, responses are due February 9, 2023, and arraignment is scheduled for term of court

commencing March 7, 2023.


             Case 7:20-cr-00167-M Document 256 Filed 01/24/23 Page 1 of 3
       5.       Undersigned counsel has been in extensive discussions with the Government

about a potential resolution of this matter. These discussions have been fruitful and undersigned

counsel requests this additional time to continue discussions with the Government regarding a

non-trial disposition.

       6.       In light of these circumstances, undersigned counsel respectfully requests that all

deadlines and settings be extended by 30 days.

       7.       AUSA Barbara D. Kocher has indicated she consents to this request for a 30-day

extension.

       8.       Undersigned counsel respectfully submits that allowance of this motion would

serve the ends of justice and such allowance would also outweigh the best interest of the public

and the Defendant in a speedy trial in that this extension is reasonably necessary to provide

reasonable time necessary for effective preparation, taking into account the exercise of due

diligence.

                                          CONCLUSION

       For the preceding reasons, the Defendant respectfully asks this Court to extend the

deadline to file pretrial motions for a period of 30 days, to and including February 24, 2023, and

to adjust the subsequent deadline in the Court’s November 28, 2022 text order consistent with

such an extension, namely: extend the deadline to file any responses to March 13, 2023. Further,

the Defendant respectfully asks to continue the arraignment presently set for the March 7, 2023

term of court for a period of 30 days to the April 4, 2023 term of court.




                                                  2



             Case 7:20-cr-00167-M Document 256 Filed 01/24/23 Page 2 of 3
       Respectfully submitted, this the 24th day of January, 2023.

                                             CHESHIRE PARKER SCHNEIDER, PLLC


                                             /s/ Elliot S. Abrams
                                             Elliot S. Abrams
                                             N.C. State Bar # 42639
                                             P. O. Box 1029
                                             Raleigh, NC 27602
                                             (919) 833-3114 (TEL)
                                             (919) 832-0739 (FAX)
                                             elliot.abrams@cheshirepark.com
                                             Retained Attorney for Defendant




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the date shown below, he electronically filed the

foregoing with the Clerk of Court using the CM/ECF system, which will send notification of

such filing to counsel for the United States, Barbara D. Kocher.


       This the 24th day of January, 2023.



                                             /s/ Elliot S. Abrams
                                             Elliot S. Abrams
                                             CHESHIRE PARKER SCHNEIDER, PLLC




                                                3



          Case 7:20-cr-00167-M Document 256 Filed 01/24/23 Page 3 of 3
